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 6
                          UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9   MANUEL BASULTO,                          )   Case No.: 2:19-cv-03256-FMO-SHK
                                              )
10                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
11         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
12   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
13                                            )
                  Defendant                   )
14                                            )
                                              )
15
16         Based upon the parties’ Stipulation for the Award and Payment of Equal
17   Access to Justice Act Fees, Costs, and Expenses:
18         IT IS ORDERED that fees and expenses in the amount of $3,700.00 as
19   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
20   awarded subject to the terms of the Stipulation.
21   DATE: June 30, 2020
22                             ___________________________________
                               THE HONORABLE SHASHI KEWALRAMANI
23                             UNITED STATES MAGISTRATE JUDGE
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 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING
 3         /s/ Steven G. Rosales
     _________________________
 4   Steven G. Rosales
     Attorney for plaintiff Manuel Basulto
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